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                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                           CRIMINAL ACTION

V.                                                                 NO. 12-01

TELLY HANKTON ET AL.                                               SECTION "F"

                               ORDER AND REASONS

        Before the Court is Sana Johnson’s motion to sever. For the

reasons that follow the motion is DENIED without prejudice.

                                    Background

        Sana Johnson is one of 13 defendants who was charged in a 24-

Count Third Superseding Indictment returned on June 19, 2014.

Johnson is charged in two counts. First, she is charged in Count

19 with conspiracy to commit misprision of a felony. Second, she

is charged in Count 20 as an accessory after the fact of murder.

The remaining counts against her 12 co-defendants include charges

of    racketeering    activity,      a     drug     distribution      conspiracy,         a

conspiracy     to   possess    firearms        in    furtherance      of    crimes       of

violence,      murder,    attempted        murder,       illegal     possession          of

firearms, obstruction of justice, and money laundering.

        Eight of Johnson’s co-defendants have pled guilty. Johnson

maintains her innocence. Aside from Johnson, the four remaining

defendants are the alleged leader of the criminal enterprise, the

organization’s       alleged      hitman    who     is   charged     with     multiple

murders, an alleged drug distributor and gunman for the enterprise


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who is also charged with murder, and another defendant charged

with murder and firearms offenses.

       The government alleges that Johnson was involved in a scheme

to commit perjury in a state court trial against Telly Hankton,

the    alleged   leader     of   the   charged     racketeering      enterprise.

According to the government, Sana Johnson provided false alibi

testimony at Hankton’s trial, which resulted in a hung jury. 1

Hankton was charged with murdering Darnell Stewart on Claiborne

Avenue in New Orleans. Johnson maintains that she has no knowledge

as to the whereabouts of Telly Hankton on the night of the murder,

nor did she testify that she had any such knowledge at Hankton’s

trial. Instead, Johnson urges that she only testified as to what

another witness, D.H., had told her. 2 Indeed, Johnson submits that

she has never even met any of her 12 co-defendants.



                                       I.

       Rule 8 of the Federal Rules of Criminal Procedure governs the

joinder of multiple offenses and defendants in the same indictment.

Rule   8(a)   allows   an   indictment      to   charge   one   defendant    with

multiple offenses if they "are of the same or similar character,




1 Ultimately, a new trial was granted and Hankton was convicted
and sentenced to life imprisonment.
2 Curiously, neither the government nor Sana Johnson elaborate on

the details of Johnson’s testimony or alleged participation in the
perjury scheme.
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or are based on the same act or transaction, or are connected with

or constitute parts of a common scheme or plan." Fed. R. Crim. P.

8(a). The requirements of Rule 8 are flexible: the offenses "may

comprehend a series of many occurrences, depending not so much

upon the immediateness of their connection as upon their logical

relationship." See United States v. Butler, 429 F.3d 140, 146-47

(5th Cir. 2005)(quoting United States v. Fortenberry, 914 F.2d

671, 675 (5th Cir. 1990)). The propriety of joinder of offenses

under Rule 8 is determined from the face of the allegations in the

indictment. See United States v. Posada-Rios, 153 F.3d 832, 862

(5th Cir. 1998). This Circuit broadly construes Rule 8 in favor of

initial joinder of offenses. See Butler, 429 F.3d at 146.

       Similarly, Rule 8(b) allows multiple defendants to be charged

in the same indictment "if they are alleged to have participated

in the same act or transaction, or in the same series of acts or

transactions, constituting an offense or offenses." Fed. R. Crim.

P. 8(b).   The Rule specifies, however, that "[a]ll defendants need

not be charged in each count." Id. It is the rule in this Circuit

that    persons   indicted     together   should    be   tried     together,

especially in conspiracy cases. See United States v. McRae, 702

F.3d 806, 821 (5th Cir. 2012). But "the government need not allege

a conspiracy in order to join defendants or counts." Id. at 820

(quoting United States v. Dennis, 645 F.2d 517, 520 (5th Cir.

1981). "Instead, [w]hat is required is a series of acts unified by

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some substantial identity of facts or participants." Id. (internal

quotations omitted).

      Rule 14 of the Federal Rules of Criminal Procedure recognizes

the possibility that defendants who are properly joined under Rule

8 may nonetheless be unfairly prejudiced. The Rule thus provides,

if joinder "appears to prejudice the defendant or the government,

the   court    may   order      separate       trials   of    counts,      sever     the

defendants' trials, or provide any other relief that justice

requires." Fed. R. Crim. P. 14(a). It is the resounding preference

of federal courts, however, to jointly try defendants who are

indicted together. See Zafiro v. United States, 506 U.S. 534, 537

(1993). "It is the rule, therefore, not the exception, that persons

indicted      together   should     be     tried     together,        especially        in

conspiracy cases." United States v. McRae, 702 F.3d 806, 821 (5th

Cir. 2012). The Court must weigh its interests in judicial economy

against the risk of prejudice to a defendant in deciding whether

a joint trial is appropriate. See Zafiro, 506 U.S. at 537.

      This    Circuit    does     not    hold    a   generous     attitude      toward

severance. "Severance is proper only if there is a serious risk

that a joint trial would compromise a specific trial right of one

of the defendants, or prevent the jury from making a reliable

judgment     about   guilt   or    innocence."       McRae,     702      F.3d   at   822

(internal quotations omitted). Less drastic measures, such as

limiting jury instructions, "often will suffice to cure any risk

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of prejudice." Zafiro, 506 U.S. at 539; United States v. Daniels,

281 F.3d 168, 177 (5th Cir. 2002). Finally, this Court has wide

discretion in determining whether severance is appropriate: "The

denial of a severance motion will be reversed only for abuse of

discretion, upon a showing of specific and compelling prejudice."

United States v. Erwin, 793 F.2d 656, 665 (5th Cir. 1986).

     Here, Johnson maintains that her right to due process will be

overcome by “insurmountable prejudice” if she is tried jointly

with the remaining co-defendants.

                                     A.

     In support of her claim, Johnson relies primarily on three

Fifth Circuit cases. The Court observes this precedent in detail.

     In United States v. McRae, 702 F.3d 806 (5th Cir. 2012), the

Fifth Circuit held that David Warren, the police officer who shot

Henry Glover in the infamous post-Katrina cover-up killing, should

have been severed from the other two officers who burned Glover's

body and fabricated a cover-up police report. Although Warren was

the shooter, it was not alleged that he played any role in the

crimes of his co-defendants. The Court found that, if Warren had

been tried alone, the trial would have lasted three days. Instead,

Warren was subjected to a month-long trial in which inflammatory

evidence was introduced about the burning of Glover's body and the

attempt by fellow officers to hide their crimes by falsifying a

police   report.   Notably,    the   government   did    not    charge    the

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defendants with conspiracy. The Court found, however, that the

government inappropriately treated the defendants as conspirators,

making it difficult for any jury to compartmentalize the evidence

separately for each defendant. The Court concluded, "We do not

fault the district court for declining to sever Warren's case

before   trial,    but   as   the       trial   progressed,    however,         and    the

evidence and testimony presented became irrelevant and unusable

against Warren, and increasingly inflammatory to him, we are of

the belief that limiting instructions could not mitigate the

prejudice." Id. at 828.

     In United States v. Cortinas, 142 F.3d 242 (5th Cir. 1998),

twenty-eight      members     of    a    drug    smuggling     organization           were

indicted for conspiracy with intent to distribute marijuana, along

with various other substantive offenses. Before the trial, four

defendants filed motions to sever on the ground that trial evidence

related to the actions of a motorcycle gang was highly prejudicial

and irrelevant to their cases. Much of the evidence presented at

trial focused on the violent and criminal nature of the motorcycle

gang who collected debts for the drug organization, including a

specific   incident      in   which      the    gang   "shot   up"      a    delinquent

customer's house, killing a fourteen year old boy. The Court

reasoned that the two defendants who were not associated with the

motorcycle gang and whose involvement with the drug conspiracy

ended before the motorcycle gang was employed should have been

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severed from the trial. The Court concluded that "[l]imiting

instructions given by the trial judge were inadequate to mitigate

the prejudicial effect of the overwhelming testimony regarding the

violent, criminal activities of the [motorcycle gang]." Id. at

248.

       In United States v. Erwin, 793 F.2d 656 (5th Cir. 1993), the

Fifth Circuit considered the issue of severance in a large, family

drug conspiracy. There, the indictment charged twenty-four people

with    counts       ranging    from    racketeering    to    perjury,         including

firearms      violations,       drug    distribution,      kidnappings,         and    one

killing. Of six defendants who moved to sever, the Fifth Circuit

concluded that only one should have been tried separately. The

sole defendant was not charged with being a part of the conspiracy.

She    was    only    indicted    on    perjury   charges     in   connection         with

concealing the organization's profits. The Court found that "very

little of the mountainous evidence was usable against her, and

almost none of it applied directly." Id. at 666.

                                           B.

       Sana    Johnson     is    not    charged   as   a     member     of     the    RICO

conspiracy, the drug distribution conspiracy, or the conspiracy to

possess firearms. The only two charges against her are related to

an alleged perjury scheme in a state court trial. If Johnson were

to be tried separately, her trial would perhaps last three days,



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and the main focus would be straightforward: did she in fact lie

on the stand during Hankton’s trial?

        Instead, Johnson faces a three to four week trial in which

evidence of racketeering, many murders, an attempted murder, a

large-scale drug distribution operation, money laundering, and

firearms offenses will be the primary focus. Her remaining co-

defendants are all charged as part of either the RICO conspiracy,

the drug distribution conspiracy, or the firearms conspiracy; and

all are charged with murder. The government does not allege that

Johnson was a member of any conspiracy in which her remaining co-

defendants are charged. 3

        Nonetheless, the government contends that Johnson “played a

major part in one of the key events that demonstrates the Hankton

organization’s      contempt      for   and     efforts     to    evade      criminal

justice.” Yet the government then immediately contradicts itself

by    detailing    the   inflammatory        charges    against     Johnson’s     co-

defendants instead of explaining Johnson’s supposed “major part.”

The     government’s     insistence     on     treating     Johnson     as    a   co-

conspirator to the racketeering enterprise, the murders, and the

drug operation is, itself, compelling grounds for severance. See

McRae, 702 F.3d 806 (5th Cir. 2012)(Court found that treating

defendants as co-conspirators when they were not charged as co-


3 Johnson’s two alleged co-conspirators to commit misprision of a
felony have pled guilty and are not participating at trial.
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conspirators was highly prejudicial). Comparing Sana Johnson to

the defendants who were severed in McRae, Cortinas, and Erwin, the

Court finds many similarities.

       Nevertheless, neither the government nor Sana Johnson have

provided specific details or evidence as to the extent of Johnson’s

involvement in this case. Without knowing the details of Johnson’s

involvement, the Court cannot find at this time that she will be

unfairly prejudiced by a joint trial. 4

       Accordingly, IT IS ORDERED that Sana Johnson’s motion to sever

is DENIED WITHOUT PREJUDICE. 5

                                    New Orleans, Louisiana, June 2, 2016


                                       ______________________________
                                            MARTIN L. C. FELDMAN
                                        UNITED STATES DISTRICT JUDGE




4 "We do not fault the district court for declining to sever [the
defendant’s] case before trial, but as the trial progressed,
however, and the evidence and testimony presented became
irrelevant and unusable against [the defendant], and increasingly
inflammatory to him, we are of the belief that limiting
instructions could not mitigate the prejudice." McRae, 702 F.3d at
828.

5 Unless the government’s presentation can demonstrate during the
early stages of trial that Ms. Johnson has been properly joined,
the Court will order that she be severed and tried alone at some
very early date to be set by the Court.
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